    Case 2:14-cv-01933-RCJ-GWF Document 104 Filed 11/23/21 Page 1 of 2



1

2

3

4

5

6

7

8

9

10                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
11
        MARINO SCAFIDI,
12
                                                      CASE NO.: 2:14-cv-01933-RCJ-GWF
13                 Plaintiff,

14      vs.
15
        LAS VEGAS METROPOLITAN POLICE
16      DEPARTMENT, a Political Subdivision of the ORDER GRANTING MOTION TO
        STATE OF NEVADA; FCH1, LLC d/b/a PALMS REMOVE COUNSEL FROM SERVICE
17      CASINO RESORT; PALMS PLACE, LLC; LIST
        UNIVERSITY MEDICAL CENTER; LT. D.
18
        MCGRATH, individually; SGT. S. COMSIKEY,
19      #6532, individually; DET. K. POOL, #7300,
        individually; DET. A. CHRISTENSEN, #7200,
20      individually; CSI K. GRAMMAS, #7808,
        individually; JERI DERMANELIAN; DOE
21
        PALMS SECURITY GUARDS I-X, DOES 1-10,
22      inclusive

23                   Defendants.
24
              Pursuant to LR IA 11.6(e), of BRANDON SMERBER LAW FIRM, hereby moves this
25
       Court for an Order removing attorneys LEW BRANDON, JR., ESQ., e-mail address:
26
       l.brandon@bsnv.law, JUSTIN W. SMERBER, ESQ., e-mail address: j.smerber@bsnv.law,
27

28     JEFFREY ORR, ESQ., e-mail address: j.orr@bsnv.law, and SARA PASQUALE, ESQ., e-mail




                                        Page 1 of 3
    Case 2:14-cv-01933-RCJ-GWF Document 104 Filed 11/23/21 Page 2 of 2



1      address: s.pasquale@bsnv.law from all service lists, including the court's electronic notification
2      list, in the above-captioned case, as Defendant was dismissed from this matter on June 15, 2018
3
       (See Doc# 62).
4
              DATED this 16th day of November, 2021.
5

6
                                              BRANDON│SMERBER LAW FIRM

7
                                              /s/ Lew Brandon, Jr., Esq.
8                                             LEW BRANDON, JR., ESQ.
9
                                              Nevada Bar No. 5880
                                              JUSTIN W. SMERBER, ESQ.
10                                            Nevada Bar No. 10761
                                              139 E Warm Springs Road
11                                            Las Vegas, Nevada 89119
                                              Attorneys for Defendant,
12
                                              FCH1, LLC d/b/a PALMS CASINO RESORT
13                                            and PALMS PLACE, LLC

14                                          IT IS SO ORDERED.
15
                                            __________________________________
16                                          UNITED STATES DISTRICT JUDGE

17                                          DATED: November 23, 2021

18

19

20

21

22

23

24

25

26

27

28




                                              Page 2 of 3
